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                      THE UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                 )
 In re:                                          )
                                                 )    Chapter 7
  JOHN THOMAS LUCIANO,                           )
                                                 )
                              Debtor.            )    Case No. 18-13207-MDC
                                                 )

                                              ORDER

          Upon consideration of the Application of Trustee to Employ Star Real Estate Group, Inc.

as Real Estate Broker, and after notice and opportunity for hearing, it is hereby;

          ORDERED that the Application is GRANTED; and it is further

          ORDERED that the Trustee is authorized to retain Star Real Estate Group, Inc. as Real

Estate Broker for the Trustee as provided in the Application, to receive compensation subject to

allowance by the court upon application to the Court on adequate notice to all parties in interest.

                                                BY THE COURT:

Dated: __________________
        March 15, 2019


                                                 __________________________
                                                 MAGDELINE D. COLEMAN
                                                 UNITED STATES BANKRUPTCY JUDGE
